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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: November 06, 2023.

                                                                           __________________________________
                                                                                   SHAD M. ROBINSON
                                                                           UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

       In re:                                              §
                                                           §        Case No. 23-10164-smr
       ASTRALABS, INC.,                                    §
                                                           §        Chapter 7
                Debtor.                                    §

                             ORDER GRANTING TRUSTEE’S MOTION TO
                           REFUND POST-CONVERSION COBRA PREMIUMS

                CAME ON FOR CONSIDERATION the Motion to Refund Post-Conversion COBRA

   Premiums (this “Motion”) 1 filed by Randolph N. Osherow, not individually but in his capacity as

   the duly appointed chapter 7 trustee (in such capacity, the “Trustee”), for and on behalf of

   ASTRALABS, Inc. (the “Debtor”) and its bankruptcy estate (the “Estate”).                             After having

   considered the Motion and the record before it, the Court finds that: (i) it has jurisdiction over the

   matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding

   pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief requested in the Motion is in the best interests of



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         Capitalized terms used herein, not otherwise defined, shall be given the meaning ascribed in the Motion.




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   the Debtor, its Estate, and its creditors; (iv) proper and adequate notice of the Motion has been

   given and no other or further notice is necessary; and (v) upon the record herein after due

   deliberation thereon, good and sufficient cause exists for the granting of the relief as set forth

   herein. Therefore,

          IT IS HEREBY ORDERED THAT:

          1.      The Motion is GRANTED as set forth herein.

          2.      The Trustee is authorized to issue refunds of the Unpaid COBRA Premiums listed

   on Exhibit “A” to the Motion to each respective COBRA Participant, which the Trustee may do,

   without limitation, via check mailed to the listed address or such other address provided to the

   Trustee by such COBRA Participant.

          3.      The Trustee is further authorized, as determined by the Trustee, to refund to former

   employees / COBRA Participants, any and all other COBRA premiums that Rippling collects and

   remits to the Trustee for premium payments corresponding to any period following the

   discontinuation of the Debtor’s group health benefit plans.

          4.      The Trustee is authorized and empowered to take all actions necessary to effectuate

   the relief granted pursuant to this Order.

          5.      Notwithstanding Bankruptcy Rule 6004(h), this Order shall be immediately

   effective and enforceable upon its entry.

          6.      The Court hereby retains jurisdiction with respect to all matters arising from or

   relating to the implementation, enforcement, and interpretation of this Order.

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   Order respectfully submitted by:

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